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                                 UNITED STATES BANKRUPTCY COURT
                                      District of New Jersey Trenton

   In re:                                                                    Case No.: 21-30589
    LTL Management LLC,                                                       Chapter: 11
          Debtor(s).




                                       CERTIFICATE OF SERVICE

          I, Tinamarie Feil, state as follows:

          I am over the age of 18 and not a party to the above-captioned case. I certify that on August 24,
 2022 as directed by Genova Burns LLC, true and correct copy(s) of the following document(s) were
 served on the party(s) listed on the attached exhibit(s) via the mode(s) of service thereon indicated:


 DKT #2922-Parkins & Rubio July Monthly Fee Statement


 I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 August 24, 2022



                                                            Tinamarie Feil
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                                                            Approved Bankruptcy Notice Provider
                                                            info@bmcgroup.com; 888.909.0100




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